          Case 4:22-md-03047-YGR            Document 1774         Filed 03/18/25      Page 1 of 3



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 8   Additional counsel listed on
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 9
10                                    UNITED STATES DISTRICT COURT
11                            FOR THE NORTHERN DISTRICT OF CALIFORNIA
                                                        MDL No. 3047
12
      IN RE: SOCIAL MEDIA ADOLESCENT
13    ADDICTION/PERSONAL INJURY PRODUCTS                Case No. 4:22-md-03047-YGR (PHK)
      LIABILITY LITIGATION
14                                                               4:23-cv-05448-YGR
      This Document Relates To:
15                                                      TEMPORARY SEALING MOTION
      People of the State of California, et al. v. Meta (JOINT LETTER BRIEF ON META’S
16    Platforms, Inc., et al.                           RESPONSE TO STATE ATTORNEYS
17                                                      GENERALS’ REQUEST FOR
                                                        PRODUCTION NUMBER 102)
18
                                                                 Judge: Hon. Yvonne Gonzalez Rogers
19
                                                                 Magistrate Judge: Hon. Peter H. Kang
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       TEMPORARY SEALING MOTION (JOINT LETTER BRIEF ON META’S RESPONSE TO STATE ATTORNEYS GENERALS’ REQUEST FOR
                                                PRODUCTION NUMBER 102)
                                                    4:22-md-03047-YGR
          Case 4:22-md-03047-YGR            Document 1774         Filed 03/18/25      Page 2 of 3



 1          Pursuant to the Court’s Order Setting Sealing Procedures (ECF No. 341), the Meta Defendants file
 2   this Temporary Sealing Motion regarding the Joint Letter Brief on Meta’s Response to State Attorneys
 3   Generals’ Request for Production Number 102. Pursuant to that Order, the reasons for sealing (if any)
 4   will be addressed in a forthcoming omnibus stipulation or omnibus motion.
 5
      Docket No.            Document                                          Designating Party
 6    1774-1                Joint Letter Brief on Meta’s Response to          Meta Defendants
                            State Attorneys Generals’ Request for
 7                          Production Number 102 (Sealed)
      1774-2                Joint Letter Brief on Meta’s Response to          Meta Defendants
 8                          State Attorneys Generals’ Request for
                            Production Number 102 (Redacted)
 9
      1774-3                Declaration of M. J. in support of Meta’s         Meta Defendants
10                          Position in Joint Letter Brief on Meta’s
                            Response to State Attorneys Generals’
11                          Request for Production Number 102
                            (Sealed)
12    1774-4                Declaration of M. J. in support of Meta’s         Meta Defendants
13                          Position in Joint Letter Brief on Meta’s
                            Response to State Attorneys Generals’
14                          Request for Production Number 102
                            (Redacted)
15    1774-5                Exhibit A to Joint Letter Brief (Not under
                            seal)
16
      1774-5                Exhibit B to Joint Letter Brief (Not under
17                          seal)

18   DATED: March 18, 2025                         Respectfully submitted,

19

20
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       TEMPORARY SEALING MOTION (JOINT LETTER BRIEF ON META’S RESPONSE TO STATE ATTORNEYS GENERALS’ REQUEST FOR
                                                PRODUCTION NUMBER 102)
                                                    4:22-md-03047-YGR
     Case 4:22-md-03047-YGR            Document 1774         Filed 03/18/25      Page 3 of 3



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     TEMPORARY SEALING MOTION (JOINT LETTER BRIEF REGARDING PRIVILEGE DETERMINATION IN CONNECTION WITH
                                       DEPOSITION OF MIKI ROTHSCHILD)
                                              4:22-md-03047-YGR
